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                                          United States District Court,
                                              District of Columbia


David Alan Carmichael, et al.                                    )
                                                                 )
           Plaintiffs                                            )
                                                                 )    Case No: 19-CV-2316-RC
                    v.                                           )
                                                                 )    Motion
Michael Richard Pompeo, in his Offiicial                         )
       capacity as Secretary of State, et al.,1                  )
                                                                 )
           Defendants                                            )


       PLAINTIFFS CARMICHAEL AND LEWIS COMBINED MOTION FOR RELIEF
         FROM ORDER OF AUGUST 28, 2020 AND MEMORANDUM IN SUPPORT

         1.      On August 28, 2020, the Court denied the Plaintiffs’ motion for summary judgment

on their first cause of action, violation of 22 U.S.C. § 2721, impermissible basis for denial of

passports. The Court also granted the Defendants’ motion for dismissal on most of the counts of

the complaint, including the first cause of action. September 25, 2020, the Plaintiffs mailed their

“Remonstrance, Objections, And Preservation of Error Regarding The Dismissal Opinion And

Memorandum of August 31, 2020” (ECF 47) (Referenced to date of notification).

         2.      The basis cited by the Court for its denial of the Plaintiffs motion for summary

judgment was:

         Plaintiffs do not cite any facts suggesting that the Government instead denied and
         revoked their passports because of their religious belief. To the extent that Plaintiffs
         claim that requiring them to provide their social security numbers on their passport
         renewal applications burdens their religious beliefs, that claim is addressed below in
         the Court’s discussion of the Religious Freedom Restoration Act. Because Plaintiffs
         have not alleged sufficient facts to plausibly establish that the Government denied
         their passport application because of any religious beliefs, the Court grants the
         Government’s motion to dismiss on Plaintiffs’ first cause of action. The Court denies
         Plaintiffs’ cross motion for partial summary judgment and injunction on their first
         cause of action. (ECF 45, p. 9)
1
    Original styling - Antony L. Blinken is now the principal of record by succession of office, Rule 25(d).


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      3.    Notwithstanding the Court’s departure from logic and reasonable inferences, the

Plaintiffs sufficiently alleged, and demonstrated to the extent that was available without ordinary

discovery exposure and validation of evidence, that the activity for which the Defendants denied

and revoked our passports was motivated by our religious belief. The statements made by the

defendants were that the reason for not identifying with a Social Security Number (hereinafter

“SSN”) is due to religion, and that obligation of religion was plainly communicated to the

Defendants and was the basis for the forthright request to warrant not identifying with a SSN in

order to obtain the passport. Religion is the duty that we owe the Creator according to religious

belief and includes that manner of discharging it which is religious activity (See Plaintiff cross-

motion ECF 27-1, reply ECF 39-1, and remonstrance ECF 47). Our Remonstrance addressed the

principals upon which the Court should have applied the statute’s positive enforcement of the

fundamental law (ECF 47, pp. 3-8).

      4.    Since that time, the Defendants have taken the correct position, as communicated by

their memoranda, that the activity of the Plaintiffs where they do not identify with a SSN, is

indeed our practice of sincere and bona fide religion. (ECF 99-1, memorandum pp. 1-3, 7-9)

The Defendants’ say, “Specifically, the Department found that Plaintiffs “had sincerely-held

religious beliefs that the Department could accommodate.” (ECF 99-1, memorandum p. 9) The

Court needs to go on record declaring that the prohibition of 22 U.S.C. § 2721 applies in this

case. It impacts other elements of this case. The Defendants have committed mala prohibita

felonies whereby they denied rights, benefits, and privileges of ours, for our not identifying with

an SSN; and those denials were done in violation of the law of the United States, especially

violating 22 U.S.C. 2721.

      5.    The most efficient use of the Court’s, Plaintiffs’, and Defendants’ time would have



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been to rightly apply the full text of the protective statute, 22 U.S.C. § 2721, and grant the

Plaintiffs’ motion for partial summary judgment, and compel the Defendants to void

Carmichael’s passport revocation, and issue renewal passports to Lewis and Pakosz.

      6.    In all of our rapid learning, we discovered Rule 60 after our remonstrance. It was in

effect a motion for relief from judgment or order pursuant to Rule 60. It was filed in a timely

manner, less than 30 days from the order. There is an ultimate deadline in the rules that such a

motion for relief be filed within 1 year of the judgment or order. Our remonstrance summarized

that “The claims ought not to have been dismissed outright, but should necessarily be held in

abeyance awaiting the progress, discovery, and declarations on the other counts.” We

particularly urge the court to reverse itself on the first cause of action according to the merit of

our remonstrance, pp. 3-8. That first cause of action is relevant to the motion of Lewis (and

Pakosz) to compel the issuance of their passports (ECF 84), as well as the Plaintiffs original

cross-motion for partial declaratory judgment on the first cause of action, (Cross Motion ECF

27-1, Reply ECF 39-1). The other causes of action warrant the Plaintiffs having the opportunity

to prove their case applying ordinary discovery in accordance with their motion that remains

before the Court (ECF 55, motion for scheduling conference).

      7.    We understand that the U.S. Attorney is not available due to vacation. We presume

that he intends to respond in opposition considering the context of this motion. Intervener

Michelle Boulton told us that she does not object to the motion.


s/David Alan Carmichael        August 28, 2021         s/Lawrence Donald Lewis         August 28, 2021
David Alan Carmichael, Plaintiff                       Lawrence Donald Lewis
1748 Old Buckroe road                                  966 Bourbon Lane
Hampton, Virginia 23664                                Nordman, Idaho 83848
david@freedomministries.life / (757) 850-2672




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